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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 08-20574-CR-LENARD/GARBER


 UNITED STATES OF AMERICA )
                            )
                 Plaintiff, )
 vs.                        )
                            )
 AEY, INC.,                 )
                            )
                 Defendant. )
                            )

                              GOVERNMENT’S RESPONSE TO
                            THE STANDING DISCOVERY ORDER

        The United States hereby files this response to the Standing Discovery Order. This response

 also complies with Local Rule 88.10 and Federal Rule of Criminal Procedure 16, and is numbered

 to corresponded with Local Rule 88.10.

        A.     1.      Written or recorded statements made by agents of the
                       corporate defendant are available for review and
                       included in item A. 5.

               2.      Oral statements made by agents of the corporate
                       defendant before or after arrest in response to
                       interrogation by any person then known to be a
                       Government agent that the Government intends to use
                       at trial are available for review and included in item
                       A. 5.

               3.      The testimony before a federal grand jury of agents of
                       the corporate defendant is available for review and
                       included in item A.5.

               4.      The NCIC record of the agents of the corporate
                       defendant, if any exists, is available for review and
                       included in item A. 5.
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             5.    Books, papers, documents, photographs, tangible
                   objects, buildings or places, or copies or portions
                   thereof, which are material to the defendant’s defense,
                   or which the Government intends to use as evidence
                   at trial to prove its case in chief, or were obtained
                   from or belonging to the defendant, include the
                   following and are available for review by contacting
                   the vender referenced below:

                   SO1-00001 through S11-02632, S12-0001
                   SWG-13 through SWG-142
                   AEY-00001 through AEY-44628
                   AP 0001 through AP 0403
                   DP 0001 through DP 0011
                   RM 0001 through RM 0011, RM 0174 through RM 0221
                   ED 0001 through ED 0006
                   MEICO 0001 through MEICO 0424.1
                   MEICO 0425 through MEICO 0764
                   XHOI 0001 through XHOI 0236
                   DBB 0001 through DBB 0193
                   Lexus 001 through Lexus 0072
                   DCMA 0001 through DCMA 0468

                   Vender:
                   Xpediacopy
                   Attn: Ignacio Montero
                   2800 Glades Circle, Suite 118
                   Weston, FL 33327
                   (954) 384-2112 Office
                   (954) 384-2115 Fax

                   These materials are not necessarily copies of all the
                   books, papers, documents, etc., that the Government
                   may intend to introduce at trial.

             6.    Physical or mental examinations, or scientific tests or
                   experiments, made in connection with this case will
                   be available for review upon receipt by the
                   undersigned.

       B.          DEMAND FOR RECIPROCAL DISCOVERY: The
                   United States requests the disclosure and production
                   of materials enumerated as items 1, 2 and 3 of Section
                   B of the Standing Discovery Order. This request is

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                   also made pursuant to Rule 16(b) of the Federal Rules
                   of Criminal Procedure.

       C.          The Government will disclose any information or
                   material which may be favorable on the issues of guilt
                   or punishment within the scope of Brady v. Maryland,
                   373 U.S. 83 (1963), and United States v. Agurs, 427
                   U.S. 97 (1976).

       D.          The Government will disclose any payments,
                   promises of immunity, leniency, preferential
                   treatment, or other inducements made to prospective
                   Government witnesses, within the scope of Giglio v.
                   United States, 405 U.S. 150 (1972), or Napue v.
                   Illinois, 360 U.S. 264 (1959).

       E.          The Government will provide, if any exists, prior
                   convictions of any alleged co-conspirator, accomplice
                   or informant who will testify for the Government at
                   trial.

       F.          The Government in unaware of any pictures utilized
                   or resulting from a lineup, show up, photo spread or
                   similar identification proceeding relating to the
                   defendant.

       G.          The Government has advised the agents and officers
                   involved in this case to preserve all rough notes.

       H.          The Government will timely advise the corporate
                   defendant of its intent, if any, to introduce evidence
                   pursuant to F.R.E. 404(b). You are hereby on notice
                   that all evidence made available to you for inspection
                   may be offered in the trial of this cause, under F.R.E.
                   404(b) or otherwise (including the inextricably-
                   intertwined doctrine).

                   In addition, the Government may introduce under
                   Rule 404(b) evidence underlying the corporate
                   defendant’s past criminal activity, if any, that has
                   resulted in arrests and/or convictions.

       I.          The corporate defendant was not an aggrieved person,
                   as defined in Title 18, United States Code, Section

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                       2510(11), of any electronic surveillance.

        J.             The Government has ordered transcribed the Grand
                       Jury testimony of any witness who will testify for the
                       Government at the trial of this cause.

        K.             There is no contraband involved in this case.

        L.             The Government does not know of any vehicle,
                       vessel, or aircraft allegedly utilized in the commission
                       of the offense(s) charged.

        M.             The Government is not aware of any latent
                       fingerprints or palm prints which have been identified
                       by a Government expert as those of the defendant.

        N.             The Government will disclose the subject-matter of
                       expert testimony that the Government reasonably
                       expects to offer at trial upon receipt by the
                       undersigned.

                       The Government hereby demands a written summary
                       of expert testimony that the defense reasonably
                       expects to offer at trial pursuant to Rules 702, 703, or
                       705 of the Federal Rules of Evidence, describing the
                       witnesses’ opinions, the bases and the reasons for
                       those opinions, and the witnesses’ qualifications.

        O.             The Government will make every possible effort in
                       good faith to stipulate to all facts or points of law the
                       truth and existence of which is not contested and the
                       early resolution of which will expedite the trial.

        P.             The Government will seek written stipulations to
                       agreed facts in this case, to be signed by all parties.

        The Government is aware of its continuing duty to disclose such newly discovered additional
 information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules of Criminal
 Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.




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        In addition to the request made above by the Government pursuant to both Section B of the
 Standing Discovery Order and Rule 16(b) of the Federal Rules of Criminal Procedure, the
 Government hereby demands Notice of Alibi defense.

                                                    Respectfully submitted,

                                                    R. ALEXANDER ACOSTA
                                                    UNITED STATES ATTORNEY

                                                    /s
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                                                    /s
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                                                    Facsimile: (305) 536-4675




                                CERTIFICATE OF SERVICE

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        I HEREBY CERTIFY that on July 29, 2008, I electronically filed the foregoing document

 with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

 served this day on all counsel of record identified on the attached Service List in the manner

 specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some

 other authorized manner for those counsel or parties who are not authorized to receive electronically

 Notices of Electronic Filing.

                                                       s/
                                                       Eloisa Delgado Fernandez
                                                       Assistant United States Attorney




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                                       SERVICE LIST
                                 United States vs. AEY, Inc.
                        Case No. 08-20574-CR-LENARD/GARBER
                  United States District Court, Southern District of Florida



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